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   Attorneys for the Chapter 7 Trustee,
   Angela Tese-Milner

   UNITED STATES BANKRUPTCY COURT
   SOUTHERN DISTRICT OF NEW YORK
   ___________________________________X
   In re:

   Edward A. Mejia,                                     Case No. 16-11019(MG)
                                                        Chapter 7 Case


         Debtor
   ___________________________________X


          CHAPTER 7 TRUSTEE’S LIMITED OBJECTION TO DEBTOR’S
        APPLICATION TO SELL REAL PROPERTY PURSUANT TO 11 U.S.C.
       SECTION 363 AND PAY SECURED CREDITOR AND PROFESSIONALS

   TO THE HONORABLE MARTIN GLENN,
   UNITED STATES BANKRUPTCY JUDGE:


          Angela Tese-Milner, Esq., the Chapter 7 Trustee of the estate of Edward A. Mejia

   (hereinafter “Debtor”) submits this limited objection (hereinafter “Objection”), pursuant

   to 11 U.S.C. § 363, et seq., to Debtor’s Motion for Sale of Property located at 223 West

   252 Street, Bronx, New York (hereinafter “Property”) pursuant to 11 U.S.C. Section 363

   (hereinafter “Sale Application”) and pay the secured creditor and professional fees

   associated with closing.

                   1. The Trustee objects to the sale on the basis that the sale is not
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   authorized by 11 U.S.C. Section 363 in the Chapter 7 Case. 11 U.S.C. § 363(b)(1)

   provides that “[t]he Trustee, after notice and a hearing may use, sell or lease, other than

   in the ordinary course of business, property of the estate.” At the core of the Bankruptcy

   Code, a sale of property in a Chapter 7 Case creates an estate for the purpose of providing

   an equitable distribution to creditors, by the Chapter 7 Trustee. The Sale Application

   ignores the Bankruptcy Code provisions and philosophy.

                    2. In the instant case, the Trustee determined that the Property has

   no equity for the estate given the Debtor’s exemption and the amount of the secured

   claim. Accordingly on June 23rd, 2016, the Trustee filed a report of no distribution report

   and abandoned the Property on the record of the 341 meeting. While the Debtor may be

   free to sell the Property outside of the Bankruptcy Case, the Trustee does not believe that

   the Debtor can utilize the Bankruptcy Court for a private sale of the Property in the

   Chapter 7 case. Here, the Property has no equity for the estate. See, paragraph 4 et seq.

   of the Sale Application. Further, the abandoned property is not property of the estate

   subject to administration in the bankruptcy case.

                3. The sole authorities cited by the Debtor to support his Sale Application are

   applicable in a Chapter 11 case. 11 U.S.C. Section 363(f) refers to a sale by a Chapter 11

   debtor-in-possession, not a Chapter 7 Debtor. It appears that the Sale Application

   petitions this Court to use its equitable powers under 11 U.S.C. to defeat the express

   provisions of Bankruptcy Code Section 363. Further, the Debtor seeks to pay

   professional fees incurred in the sale and closing, when no professionals have been

   retained in the Chapter 7 case. The Trustee cannot administer a property that has no

   equity for the estate and its creditors.



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           4. The Trustee has given notice of this Objection by mailing a copy of the

   Objection, notice of hearing, and proposed order to William K. Harrington, United States

   Trustee at the U.S. Department of Justice, Office of U.S. Trustee, U.S. Federal Office

   Building, attn. (Attn: Andrea B. Schwartz, Esq.), 201 Varick Street, Room 1006, New

   York, N.Y. 10014; email to the Debtor’s attorney, Bruce R. Alter at altergold@aol.com.;

   and by fax to Aldrich Pite, LLP, 40 Marcus Drive, Suite 200, Melville, N.Y. 11747, Fax

   631 454-8169, attorney for Wells Fargo Bank.

                                   CONCLUSION

          WHEREFORE, the Trustee respectfully requests that this Court deny the

   Debtor’s Application to Sell the Property for all of the above reasons and for such further

   and additional relief as the Court determines to be just and proper.

   Dated: November 10, 2017
          New York, New York

                                                 By: /s/ Angela Tese- Milner, Esq.
                                                    Angela Tese-Milner, Esq.
                                                    Chapter 7 Trustee




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